






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-05-070 CR


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EX PARTE MARIO BELLARD






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 2046






MEMORANDUM OPINION (1)


	On January 18, 2005, the trial court denied Mario Bellard's application for writ of
habeas corpus without conducting an evidentiary hearing or issuing the writ of habeas
corpus.  We questioned our jurisdiction over the appeal.  Bellard filed a response in which
he argues the merits of his application for writ of habeas corpus without first establishing
that the order is appealable.

	No appeal lies from the refusal to issue writ of habeas corpus unless the trial court
conducts an evidentiary hearing on the merits of the application.  Ex parte Hargett, 819 
S.W.2d 866 (Tex. Crim. App. 1991); Noe v. State, 646 S.W.2d 230 (Tex. Crim. App.
1983).  The trial court did not issue a writ of habeas corpus, nor did the court conduct an
evidentiary hearing on the application for the writ.  Compare Ex parte Silva, 968 S.W.2d
367 (Tex. Crim. App. 1998); Ex parte McCullough, 966 S.W.2d 529 (Tex. Crim. App.
1998).  We hold we have no jurisdiction over this appeal.  Accordingly, it is ordered that
the appeal be dismissed for want of jurisdiction.

	APPEAL DISMISSED.

										PER CURIAM

Opinion Delivered March 30, 2005

Do Not Publish

Before McKeithen, C.J., Kreger and Horton, JJ.
1. Tex. R. App. P. 47.4.


